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 6

 7                                  UNITED STATES DISTRICT COURT
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
                                                     ) Case No.: 1:15-cr-00319-LJO-SKO
10   THE UNITED STATES OF AMERICA,                   )
                                                     )
11                    Plaintiff,                     ) STIPULATION TO CONTINUE
                                                     ) SENTENCING HEARING; AND ORDER
12          vs.                                      )
                                                     )
13   HECTOR GONZALES,                                )
                                                     )
14                    Defendant                      )
                                                     )
15                                                   )
                                                     )
16
       The Plaintiff, United States of America, by and through its Counsel of Record Kathy
17
     Servatius, Assistant United States Attorney, and Defense Attorney E. Marshall Hodgkins,
18
     Attorney of Record for Defendant Hector Gonzales hereby stipulate as follows:
19                1. To continue the currently set sentencing date of November 26, 2018 to February
20                   25, 2019 at 8:30 am in front of the Honorable Lawrence J. O’Neill.

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                  2. The above continuance of the sentencing date is necessary in order for the defense
                     to finish compiling certain material necessary and relevant to the sentencing.
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     IT IS SO STIPULATED.
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     Date: 11/16/18                                               /s/ Kathy Servatius
 1                                                                Kathy Servatius,
                                                           Assistant United States Attorney
 2

 3

 4

 5   Date: 11/16/18                                              /s/ E. Marshall Hodgkins
                                                                 E. MARSHALL HODGKINS,
 6                                                               Attorney of Record for
                                                                 Hector Gonzales
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12
                                                ORDER
13
            Pursuant to the parties’ Stipulation, the SENTENCING, currently set for November 26,
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     2018 is continued to February 25, 2019 at 8:30 a.m.
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16   IT IS SO ORDERED.
17
        Dated:    November 19, 2018                         /s/ Lawrence J. O’Neill _____
18                                               UNITED STATES CHIEF DISTRICT JUDGE

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